                              1                                                  EXHIBIT B

                              2                                Assisting Parties and Proposed Cure Amounts
                              3

                              4           Assisting Party                                           Mutual Assistance       Proposed
                                                                                                    Agreement            Cure Amount
                              5     1.    Alameda Municipal Power                                   CUEA Agreement              $0.00
                                    2.    Alectra Utilities                                         Master Agreement            $0.00
                              6     3.    Allegheny Energy Inc                                      Master Agreement            $0.00
                                    4.    ALLETE d/b/a Minnesota Power                              Master Agreement      $100,379.00
                              7     5.    Alliant Energy - Interstate Power & Light (IPL)           Master Agreement            $0.00
                                    6.    Alliant Energy - Wisconsin Power & Light (WPL)            Master Agreement            $0.00
                              8     7.    Alpine Natural Gas Operating Company No. 1, LLC           CUEA Agreement              $0.00
                                    8.    AltaLink Management L.P.                                  WR Agreement                $0.00
                              9     9.    Ameren Corporation                                        Master Agreement            $0.00
                                    10.   Ameren Illinois                                           AGA Agreement               $0.00
                             10     11.   Ameren Missouri                                           AGA Agreement               $0.00
                                    12.   American Electric Power                                   Master Agreement            $0.00
                             11     13.   American Gas Association                                  AGA Agreement               $0.00
                                    14.   Anza Electric Cooperative, Inc.                           CUEA Agreement              $0.00
                             12     15.   Arizona Public Service Company                            WR Agreement          $639,829.00
                                    16.   ATC - American Transmission Company                       Master Agreement            $0.00
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                                    17.   ATCO Gas Distribution                                     WR Agreement                $0.00
 New York, NY 10153-0119




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                                    18.   Atlanta Gas Light                                         AGA Agreement               $0.00
                                    19.   Atmos Energy Corporation                                  AGA Agreement               $0.00
      767 Fifth Avenue




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                                    20.   Avista Corporation                                        AGA Agreement         $577,236.00
                                                                                                    Master Agreement
                             15
                                                                                                    WR Agreement
                                    21.   Azusa Light & Water                                       CUEA Agreement               $0.00
                             16
                                    22.   BC Hydro (British Columbia)                               WR Agreement                 $0.00
                                    23.   Bear Valley Electric Service                              CUEA Agreement               $0.00
                             17
                                    24.   BGE, An Exelon Company                                    AGA Agreement                $0.00
                                    25.   Black Hills Energy                                        AGA Agreement                $0.00
                             18                                                                     Master Agreement
                                    26.   Bonneville Power Administration                           WR Agreement                 $0.00
                             19     27.   Burbank Water and Power                                   CUEA Agreement               $0.00
                                    28.   Cascade Natural Gas Corporation                           AGA Agreement                $0.00
                             20                                                                     WR Agreement
                                    29.   CenterPoint Energy                                        AGA Agreement                $0.00
                             21                                                                     Master Agreement
                                    30.   Central Hudson Gas & Electric Corporation                 AGA Agreement                $0.00
                             22                                                                     Master Agreement
                                    31.   Central Lincoln People’s Utility District                 WR Agreement                 $0.00
                             23     32.   Central Maine Power Company (Iberdrola USA)               Master Agreement             $0.00
                                    33.   Central Vermont Public Service                            Master Agreement             $0.00
                             24     34.   Chelan County Public Utility District                     WR Agreement                 $0.00
                                    35.   Chesapeake Utilities Corporation                          AGA Agreement                $0.00
                             25     36.   Citizens Energy Group                                     AGA Agreement                $0.00
                                    37.   City of Anaheim, Public Utilities Department              CUEA Agreement               $0.00
                             26     38.   City of Colton                                            CUEA Agreement               $0.00
                                    39.   City of Corpus Christi                                    AGA Agreement                $0.00
                             27     40.   City of Healdsburg Electric Department                    CUEA Agreement               $0.00

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                              1           Assisting Party                                             Mutual Assistance       Proposed
                                                                                                      Agreement            Cure Amount
                              2     41.   City of Lodi – Lodi Electric Utility                        CUEA Agreement              $0.00
                                    42.   City of Lompoc                                              CUEA Agreement              $0.00
                              3     43.   City of Long Beach Gas & Oil Department                     CUEA Agreement              $0.00
                                                                                                      WR Agreement
                              4     44.   City of Mesa Utilities                                      WR Agreement                $0.00
                                    45.   City of Moreno Valley Electric Utility                      CUEA Agreement              $0.00
                              5     46.   City of Palo Alto                                           CUEA Agreement              $0.00
                                    47.   City of Pasadena Water and Power                            CUEA Agreement              $0.00
                              6     48.   City of Roseville – Roseville Electric                      CUEA Agreement        $598,578.00
                                    49.   City of Shasta Lake                                         CUEA Agreement              $0.00
                              7     50.   City of Ukiah                                               CUEA Agreement              $0.00
                                    51.   City of Vernon Public Utilities                             CUEA Agreement              $0.00
                              8     52.   Clark Public Utilities                                      WR Agreement                $0.00
                                    53.   Cleco Corporation                                           Master Agreement            $0.00
                              9     54.   Colorado Springs Utilities                                  AGA Agreement               $0.00
                                    55.   Columbia Gas of Kentucky                                    AGA Agreement               $0.00
                             10     56.   Columbia Gas of Maryland                                    AGA Agreement               $0.00
                                    57.   Columbia Gas of Massachusetts                               AGA Agreement               $0.00
                             11     58.   Columbia Gas of Ohio                                        AGA Agreement               $0.00
                                    59.   Columbia Gas of Pennsylvania                                AGA Agreement               $0.00
                             12     60.   Columbia Gas of Virginia                                    AGA Agreement               $0.00
                                    61.   Connecticut Natural Gas Corporation                         AGA Agreement               $0.00
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                             13     62.   Consolidated Edison Company of New York, Inc.               AGA Agreement               $0.00
                                    63.   Consolidated Edison Inc                                     Master Agreement            $0.00
      767 Fifth Avenue




                             14     64.   Consolidated Edison Inc (Orange & Rockland Utilities)       Master Agreement            $0.00
                                    65.   Consumers Energy                                            AGA Agreement               $0.00
                             15                                                                       Master Agreement
                                    66.   Consumers Power Inc.                                        WR Agreement          $241,636.00
                             16     67.   CoServ Gas                                                  AGA Agreement               $0.00
                                    68.   Dayton Power & Light                                        Master Agreement            $0.00
                             17     69.   Delmarva Power, An Exelon Company                           AGA Agreement               $0.00
                                    70.   Dominion Energy                                             Master Agreement            $0.00
                             18                                                                       WR Agreement
                                    71.   Dominion Energy Ohio                                        AGA Agreement                $0.00
                             19     72.   Dominion Energy Utah                                        AGA Agreement                $0.00
                                    73.   Dominion Energy West Virginia                               AGA Agreement                $0.00
                             20     74.   DTE Energy                                                  AGA Agreement                $0.00
                                                                                                      Master Agreement
                             21     75.   DTE Gas Company                                             AGA Agreement                $0.00
                                    76.   Duke Energy Corp                                            AGA Agreement                $0.00
                             22                                                                       Master Agreement
                                    77.   Duquesne Light Holdings                                     Master Agreement             $0.00
                             23     78.   Easton Utilities                                            AGA Agreement                $0.00
                                    79.   El Paso Electric Company                                    WR Agreement                 $0.00
                             24     80.   Elster Instromet, Inc.                                      AGA Agreement                $0.00
                                    81.   Empire District Electric Company                            Master Agreement             $0.00
                             25     82.   Enbridge Gas Inc.                                           AGA Agreement                $0.00
                                    83.   ENMAX Corporation                                           WR Agreement                 $0.00
                             26     84.   ENSTAR Natural Gas Company                                  AGA Agreement                $0.00
                                                                                                      WR Agreement
                             27     85.   Entergy Corporation                                         Master Agreement             $0.00
                                    86.   Entergy New Orleans, LLC                                    AGA Agreement                $0.00
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                              1             Assisting Party                                          Mutual Assistance         Proposed
                                                                                                     Agreement              Cure Amount
                              2       87.   Equitable Gas Co.                                        AGA Agreement                 $0.00
                                      88.   Eugene Water and Electric Board                          WR Agreement            $848,475.00
                              3       89.   EverSource Energy                                        AGA Agreement                 $0.00
                                                                                                     Master Agreement
                              4       90.   Exelon Corporation (Com Ed)                              Master Agreement               $0.00
                                      91.   Exelon Corporation (PECO)                                Master Agreement               $0.00
                              5       92.   FirstEnergy Corporation (Ohio Edison)                    Master Agreement        $106,500.00
                                      93.   Florida Power & Light Company                            FPL Agreement         $7,431,964.001
                              6       94.   Florida Public Utilities                                 AGA Agreement                  $0.00
                                                                                                     Master Agreement
                              7       95. FortisAlberta                                              WR Agreement                   $0.00
                                      96. FortisBC                                                   WR Agreement                   $0.00
                              8       97. FPL Group Inc                                              Master Agreement               $0.00
                                      98. Gainesville Regional Utilities                             AGA Agreement                  $0.00
                              9       99. Glendale Water and Power                                   CUEA Agreement                 $0.00
                                      100. Great Plains Energy Inc (KCP&L)                           Master Agreement               $0.00
                             10       101. Green Mountain Power                                      Master Agreement               $0.00
                                      102. Greenville Utilities                                      AGA Agreement                  $0.00
                             11       103. Hawaii Gas                                                WR Agreement                   $0.00
                                      104. Hawaiian Electric Company, Inc.                           AGA Agreement          $1,595,683.00
                             12                                                                      WR Agreement
                                                                                                     Master Agreement
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                                      105. HearthStone Utilities, Inc.                               AGA Agreement                  $0.00
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                                      106. Heath Consultants Incorporated                            AGA Agreement                  $0.00
      767 Fifth Avenue




                             14       107. Honeywell Smart Energy Gas Americas                       AGA Agreement                  $0.00
                                      108. Hydro-One Inc.                                            Master Agreement       $1,182,861.00
                             15       109. Idaho Power Company                                       WR Agreement                   $0.00
                                      110. Imperial Irrigation District                              CUEA Agreement         $1,453,570.00
                             16       111. Indianapolis Power & Light Co                             Master Agreement               $0.00
                                      112. InfraSource                                               AGA Agreement                  $0.00
                             17       113. Intermountain Gas Company                                 AGA Agreement                  $0.00
                                                                                                     WR Agreement
                             18       114. ITC Holdings Corporation                                  Master Agreement               $0.00
                                      115. Itron, Inc.                                               AGA Agreement                  $0.00
                             19       116. Kansas Gas Service                                        AGA Agreement                  $0.00
                                      117. Kauai Island Utility Cooperative                          WR Agreement                   $0.00
                             20       118. Kentucky Utilities Company (LGE - KU Energy)              Master Agreement               $0.00
                                      119. KeySpan Corporation                                       Master Agreement               $0.00
                             21       120. Lassen Municipal Utility District                         CUEA Agreement                 $0.00
                                      121. Lathrop Irrigation District                               CUEA Agreement                 $0.00
                             22       122. LG&E-KU, PPL Companies                                    AGA Agreement                  $0.00
                                      123. Liberty Utilities                                         AGA Agreement             $76,045.00
                             23                                                                      CUEA Agreement
                                                                                                     Master Agreement
                                                                                                     WR Agreement
                             24
                                      124. Los Angeles Department of Water and Power                 CUEA Agreement                $0.00
                             25
                                  1
                             26     $27,377.31 of the Outstanding MAA Obligations owed to Florida Power & Light Company (“FPL”)
                                  by the Utility is subject to ongoing review and reconciliation by the Utility (the “Disputed Amounts”).
                             27   In the event the Utility determines it is not liable for part or all of the Disputed Amounts under the FPL
                                  Agreement, it will not pay such amounts to FPL.
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                              1          Assisting Party                                         Mutual Assistance       Proposed
                                                                                                 Agreement            Cure Amount
                              2                                                                  WR Agreement
                                    125. Louisville Gas & Electric Company (LG&E)                Master Agreement            $0.00
                              3     126. Lower Valley Energy Inc.                                WR Agreement          $193,045.00
                                    127. Madison Gas & Electric                                  Master Agreement            $0.00
                              4     128. Mears Group, Inc.                                       AGA Agreement               $0.00
                                    129. MidAmerican Energy Company                              AGA Agreement               $0.00
                              5                                                                  Master Agreement
                                    130. MidWest Energy, Inc.                                    Master Agreement             $0.00
                              6     131. Modesto Irrigation District                             CUEA Agreement               $0.00
                                    132. Montana-Dakota Utilities Co.                            AGA Agreement                $0.00
                              7     133. Mt. Carmel Public Utility Co.                           Master Agreement             $0.00
                                    134. National Fuel Gas Distribution Corporation              AGA Agreement                $0.00
                              8     135. National Grid                                           AGA Agreement                $0.00
                                                                                                 Master Agreement
                              9     136. Nebraska Public Power District                          Master Agreement             $0.00
                                    137. Nevada Power                                            WR Agreement                 $0.00
                             10     138. New Jersey Natural Gas Company                          AGA Agreement                $0.00
                                    139. New Mexico Gas Company                                  AGA Agreement                $0.00
                             11     140. New York State Electric & Gas Corporation               AGA Agreement                $0.00
                                    141. NIPSCO                                                  AGA Agreement                $0.00
                             12     142. Northeast Utilities (Eversource Energy)                 Master Agreement             $0.00
                                    143. Northern California Power Agency                        CUEA Agreement               $0.00
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                                    144. Northern Indiana Public Service Company (NIPSCO)        Master Agreement             $0.00
 New York, NY 10153-0119




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                                    145. Northern Natural Gas Company                            AGA Agreement                $0.00
      767 Fifth Avenue




                             14     146. Northern Wasco PUD                                      WR Agreement                 $0.00
                                    147. NorthWestern Energy                                     Master Agreement             $0.00
                             15                                                                  WR Agreement
                                    148. NPL Construction Co.                                    AGA Agreement                $0.00
                             16     149. NSTAR                                                   Master Agreement             $0.00
                                    150. NV Energy                                               Master Agreement             $0.00
                             17                                                                  WR Agreement
                                    151. NW Natural                                              AGA Agreement                $0.00
                             18                                                                  WR Agreement
                                    152. NYSEG - New York State Electric & Gas (lberdrola USA)   Master Agreement             $0.00
                             19     153. OGE Energy                                              Master Agreement             $0.00
                                    154. Oklahoma Natural Gas                                    AGA Agreement                $0.00
                             20     155. Omaha Public Power District (OPPD)                      Master Agreement             $0.00
                                    156. ONCOR Electric Delivery Company LLC                     Master Agreement     $3,603,953.00
                             21     157. ONE Gas, Inc.                                           AGA Agreement                $0.00
                                    158. Orange & Rockland Utilities, Inc.                       AGA Agreement                $0.00
                             22     159. Otter Tail Power Company                                Master Agreement             $0.00
                                    160. Pacific Power, a division of PacifiCorp                 CUEA Agreement               $0.00
                             23                                                                  Master Agreement
                                                                                                 WR Agreement
                                    161. Paiute Pipeline Company                                 WR Agreement                $0.00
                             24
                                    162. PECO, An Exelon Company                                 AGA Agreement               $0.00
                                    163. Peoples Natural Gas                                     AGA Agreement               $0.00
                             25
                                    164. Pepco Holdings Inc                                      Master Agreement            $0.00
                                    165. Philadelphia Gas Works                                  AGA Agreement               $0.00
                             26
                                    166. Pittsburg Power Company dba Island Energy               CUEA Agreement              $0.00
                                    167. Plumas-Sierra Rural Electric                            CUEA Agreement        $415,094.00
                             27
                                    168. PNM Resources Inc                                       Master Agreement            $0.00
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                              1          Assisting Party                                                  Mutual Assistance       Proposed
                                                                                                          Agreement            Cure Amount
                              2     169. Portland General Electric                                        Master Agreement       $31,497.00
                                                                                                          WR Agreement
                              3     170. PPL Corporation                                                  Master Agreement             $0.00
                                    171. Progress Energy Inc.                                             Master Agreement             $0.00
                              4     172. PSEG Long Island                                                 Master Agreement             $0.00
                                    173. Public Service Company of New Mexico (PNM)                       WR Agreement         $1,430,381.00
                              5     174. Public Service Electric and Gas Company                          AGA Agreement                $0.00
                                    175. Public Service Enterprise Group Inc.                             Master Agreement             $0.00
                              6     176. Public Utility District of Snohomish County                      WR Agreement         $1,304,757.00
                                    177. Puget Sound Energy                                               AGA Agreement                $0.00
                              7                                                                           Master Agreement
                                                                                                          WR Agreement
                              8     178. Rancho Cucamonga Municipal Utility                               CUEA Agreement               $0.00
                                    179. Redding Electric Utility                                         CUEA Agreement               $0.00
                              9     180. Riverside Public Utilities                                       CUEA Agreement               $0.00
                                    181. Roanoke Gas Company                                              AGA Agreement                $0.00
                             10     182. Rochester Gas and Electric Corporation (Iberdrola USA)           AGA Agreement                $0.00
                                                                                                          Master Agreement
                             11     183. Rocky Mountain Power, a division of PacifiCorp                   Master Agreement             $0.00
                                                                                                          WR Agreement
                             12     184. Sacramento Municipal Utility District                            CUEA Agreement               $0.00
                                                                                                          WR Agreement
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                                    185. Saint John Energy                                                Master Agreement             $0.00
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                                    186. Salem Electric                                                   WR Agreement                 $0.00
                                    187. Salt River Project Agricultural Improvement and Power District   WR Agreement                 $0.00
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                                    188. San Diego Gas & Electric Company                                 AGA Agreement        $1,797,026.00
                                                                                                          CUEA Agreement
                             15
                                                                                                          Master Agreement
                                                                                                          WR Agreement
                             16     189. San Francisco Public Utility Commission                          CUEA Agreement               $0.00
                                    190. Seattle City Light                                               WR Agreement          $500,411.00
                             17     191. SEMCO Energy Gas Company                                         AGA Agreement                $0.00
                                    192. Sensit Technologies                                              AGA Agreement                $0.00
                             18     193. Silicon Valley Power, Electric (City of Santa Clara)             CUEA Agreement               $0.00
                                    194. South Carolina Electric & Gas                                    Master Agreement             $0.00
                             19     195. South Jersey Gas Company                                         AGA Agreement                $0.00
                                    196. Southern California Edison                                       CUEA Agreement       $2,794,242.00
                             20                                                                           Master Agreement
                                                                                                          WR Agreement
                             21     197. Southern California Gas Company                                  AGA Agreement                $0.00
                                                                                                          CUEA Agreement
                             22                                                                           WR Agreement
                                    198. Southern Company (Alabama Power)                                 Master Agreement            $0.00
                             23     199. Southern Company (Georgia Power)                                 Master Agreement       $44,812.00
                                    200. Southern Company (Gulf Power)                                    Master Agreement            $0.00
                             24     201. Southern Company (Mississippi Power)                             Master Agreement            $0.00
                                    202. Southern Company Gas                                             AGA Agreement               $0.00
                             25     203. Southwest Gas Corporation                                        AGA Agreement               $0.00
                                                                                                          CUEA Agreement
                             26                                                                           WR Agreement
                                    204. Spire Inc.                                                       AGA Agreement                $0.00
                             27     205. Springfield Utility Board                                        WR Agreement                 $0.00

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                              1           Assisting Party                                           Mutual Assistance       Proposed
                                                                                                    Agreement            Cure Amount
                              2     206. Susquehanna Technologies                                   AGA Agreement               $0.00
                                    207. Tacoma Power                                               WR Agreement                $0.00
                              3     208. Tampa Electric Company (TECO Energy Inc)                   Master Agreement            $0.00
                                    209. TECO Peoples Gas, an Emera Co.                             AGA Agreement               $0.00
                              4     210. Texas Gas Service                                          AGA Agreement               $0.00
                                    211. The Energy Cooperative                                     AGA Agreement               $0.00
                              5     212. Tillamook PUD                                              WR Agreement          $698,507.00
                                    213. Trinity County Public Utilities District                   TCPUD Agreement             $0.00
                              6     214. Tri-State G&T Assoc., Inc.                                 WR Agreement          $777,102.00
                                    215. Truckee Donner Public Utility District                     CUEA Agreement              $0.00
                              7                                                                     WR Agreement
                                    216. Tucson Electric Power                                      WR Agreement                 $0.00
                              8     217. Turlock Irrigation District                                CUEA Agreement               $0.00
                                    218. UGI Utilities                                              AGA Agreement                $0.00
                              9                                                                     Master Agreement
                                    219. Underground Construction Co., Inc.                         AGA Agreement                $0.00
                             10     220. Union Gas, An Enbridge Company                             AGA Agreement                $0.00
                                    221. UniSource Energy Services                                  AGA Agreement                $0.00
                             11                                                                     WR Agreement
                                    222. Unitil                                                     AGA Agreement                $0.00
                             12                                                                     Master Agreement
                                    223. Upper Peninsula Power Company                              Master Agreement             $0.00
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                                    224. Valley Energy, Inc.                                        AGA Agreement                $0.00
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                                    225. Vectren Corporation                                        AGA Agreement                $0.00
      767 Fifth Avenue




                             14                                                                     Master Agreement
                                    226. Vectren Energy Corporation                                 AGA Agreement                $0.00
                             15     227. Vermont Gas Systems, Inc.                                  AGA Agreement                $0.00
                                    228. Washington Gas Light Company                               AGA Agreement                $0.00
                             16     229. We Energies                                                AGA Agreement                $0.00
                                                                                                    Master Agreement
                             17     230. WEC Energy Group                                           AGA Agreement                $0.00
                                    231. Westar Energy                                              Master Agreement             $0.00
                             18     232. Western Area Power Administration                          CUEA Agreement               $0.00
                                    233. Westfield Gas & Electric Department                        AGA Agreement                $0.00
                             19     234. Wisconsin Public Service Corporation                       Master Agreement             $0.00
                                    235. Xcel Energy                                                AGA Agreement                $0.00
                                                                                                    Master Agreement
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